                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:03CR70-16


                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
       v.                                         )          ORDER
                                                  )
LUIS RAUL SALAZAR-ACOSTA                          )
                                                  )

       THIS MATTER IS BEFORE THE COURT on Defendant’s Letter Motion to Modify /

Correct Sentence [doc. 447] filed on August 24, 2007.

       In accordance with the Court’s original intent, this motion is GRANTED. Defendant’s

sentence is reduced from 57 months to 31 months. A new J&C is to be prepared to reflect the

new sentence in order that defendant receive credit for time served in state prison.

       IT IS SO ORDERED.

                                                 Signed: August 21, 2007




   Case 3:03-cr-00070-FDW-DSC              Document 448        Filed 08/21/07      Page 1 of 1
